     Case 3:17-cv-02352-JLS-BLM Document 45 Filed 02/12/20 PageID.316 Page 1 of 1



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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    DANIEL SALAS,                                      Case No.: 17-CV-2352 JLS (BLM)
12                                      Plaintiff,
                                                         ORDER GRANTING JOINT
13    v.                                                 MOTION TO DISMISS WITH
                                                         PREJUDICE
14    UNIVERSAL CREDIT SERVICES,
      LLC; GTPD ENTERPRISES, INC.;
15                                                       (ECF No. 44)
      PRIORITY DOCUMENTS; EC
16    LENDING, LLC; NEIL BILLOCK; and
      DOES 1-10,
17
                                     Defendants.
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19           Presently before the Court is the Parties’ Joint Motion to Dismiss With Prejudice
20   (ECF No. 44).      Good cause appearing, the Court GRANTS the Joint Motion and
21   DISMISSES WITH PREJUDICE this action in its entirety. As stipulated by the Parties,
22   each side will bear its own attorneys’ fees and costs. The Clerk of Court shall close the
23   file.
24           IT IS SO ORDERED.
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     Dated: February 12, 2020
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                                                                              17-CV-2352 JLS (BLM)
